 Case 3:08-cv-05042-PGS-TJB Document 1 Filed 10/10/08 Page 1 of 73 PageID: 1




William J. O’Shaughnessy                             Of Counsel
Jonathan M.H. Short                                  Robert L. Baechtold
Mark H. Anania                                       Nicholas N. Kallas
McCARTER & ENGLISH, LLP                              Diego Scambia
Four Gateway Center                                  Filko Prugo
100 Mulberry Street                                  FITZPATRICK, CELLA, HARPER &
Newark, New Jersey 07102                                SCINTO
Phone: (973) 622-4444                                30 Rockefeller Plaza
Facsimile: (973) 624-7070                            New York, NY 10112-3801
                                                     Phone: (212) 218-2100
                                                     Facsimile: (212) 218-2200

Attorneys for Plaintiff
Novartis Pharmaceuticals Corporation

                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW JERSEY

                                                 )
NOVARTIS PHARMACEUTICALS                         )
CORPORATION,                                     )
                                                 )
                             Plaintiff,          )
                                                 )
              v.                                 )    Civil Action No. _____________
                                                 )
MYLAN PHARMACEUTICALS INC. and                   )
MYLAN INC.,                                      )
                                                 )
                             Defendants.         )
                                                 )


                     COMPLAINT FOR PATENT INFRINGEMENT

              Plaintiff Novartis Pharmaceuticals Corporation (hereinafter “Plaintiff”), for its

Complaint herein against defendants Mylan Pharmaceuticals Inc. and Mylan Inc. alleges as

follows:

                                   NATURE OF ACTION

              1.     This is an action for patent infringement.
 Case 3:08-cv-05042-PGS-TJB Document 1 Filed 10/10/08 Page 2 of 73 PageID: 2




                                           PARTIES

               2.     Plaintiff Novartis Pharmaceuticals Corporation (“NPC”) is a corporation

organized and existing under the laws of the State of Delaware, having a principal place of

business at 59 Route 10, East Hanover, New Jersey 07936.

               3.     On information and belief, Mylan Pharmaceuticals Inc. (“Mylan Pharms”)

is a corporation organized under the laws of the State of West Virginia, having an office and

place of business at 781 Chestnut Ridge Road, Morgantown, West Virginia 26505.

               4.     On information and belief, Mylan Inc. is a corporation organized under the

laws of the State of Pennsylvania, having an office and place of business at 1500 Corporate

Drive, Canonsburg, Pennsylvania 15317.

               5.     On information and belief, Mylan Pharms is a wholly owned subsidiary of

Mylan Inc., and the acts of Mylan Pharms complained of herein were and are aided and abetted

by, and done with the cooperation, participation, and assistance of, Mylan Inc. On information

and belief, Mylan Pharms and Mylan Inc. have officers or directors in common.

               6.     Mylan Pharms and Mylan Inc. hereinafter are referred to collectively as

“Mylan.”

                                JURISDICTION AND VENUE

               7.     This action arises under the patent laws of the United States of America.

This Court has jurisdiction over the subject matter of this action under 28 U.S.C. §§ 1331 and

1338(a).




                                                2
 Case 3:08-cv-05042-PGS-TJB Document 1 Filed 10/10/08 Page 3 of 73 PageID: 3




               8.      Mylan Pharms is registered to do business in the State of New Jersey. Its

agent for service of process in New Jersey is Corporation Service Company, 830 Bear Tavern

Road, West Trenton, New Jersey 08628. Mylan has submitted to jurisdiction in this judicial

district in numerous patent cases in the last five years, and sells various products and does

business throughout the United States, including in this judicial district. This Court has personal

jurisdiction over Mylan by virtue of, inter alia, the above-mentioned facts.

               9.      Upon information and belief, Mylan has submitted to the jurisdiction of

the United States District Court for the District of New Jersey.

               10.     Venue is proper in this Court pursuant to 28 U.S.C. §§ 1391(b) and (c),

and 28 U.S.C. § 1400(b).

                     CLAIM FOR RELIEF – PATENT INFRINGEMENT

               11.     Plaintiff NPC holds an approved new drug application (“NDA”) NDA No.

20-261 for Lescol7 capsules (20 mg and 40 mg), which capsules contain the active ingredient

fluvastatin sodium. Lescol7 capsules were approved by the United States Food and Drug

Administration (“FDA”) to reduce elevated total cholesterol, low-density lipoprotein C,

triglyceride and apolipoprotein B levels and to increase high-density lipoprotein C in patients

with primary hypercholesterolemia and mixed dyslipidemia (Fredrickson Type IIa and IIb). The

FDA has also approved Lescol® as an adjunct to diet to reduce total cholesterol, low-density

lipoprotein C and apolipoprotein B levels in adolescent boys and girls. Lescol® is further FDA-

approved for patients with coronary heart disease to reduce the risk of undergoing coronary

revascularization procedures. Finally, Lescol® is FDA-approved to slow the progress of




                                                 3
 Case 3:08-cv-05042-PGS-TJB Document 1 Filed 10/10/08 Page 4 of 73 PageID: 4




coronary atherosclerosis in patients with coronary heart disease as part of a treatment strategy to

lower total and low-density lipoprotein cholesterol to target levels.

               12.     Fluvastatin sodium is described in chemical nomenclature as [R*,S*-(E)]-

(±)-7-[3-(4-fluorophenyl)-1-(1-methylethyl)-1H-indol-2-yl]-3,5-dihydroxy-6-heptenoic acid,

monosodium salt. Fluvastatin sodium is a water-soluble cholesterol lowering agent which acts

through the inhibition of 3-hydroxy-3-methylglutaryl-coenzyme A (“HMG-CoA”) reductase.

               13.     NPC is the owner of United States Letters Patent No. 5,354,772 (“the ‘772

patent”). The ‘772 patent was duly and legally issued on October 11, 1994. A true copy of the

‘772 patent is attached hereto as Exhibit A.

               14.     The ‘772 patent claims chemical compounds, including fluvastatin sodium

specifically, as well as pharmaceutical compositions containing these compounds. The ‘772

patent also claims methods of inhibiting cholesterol biosynthesis and methods of treating

atherosclerosis using these compounds.

               15.     The ‘772 patent originally was assigned by the inventor to Sandoz

Pharmaceuticals Corporation. Sandoz Pharmaceuticals Corporation subsequently changed its

name to NPC on December 23, 1996.

               16.     Mylan Pharms submitted to the FDA an abbreviated new drug application

(“ANDA”) under the provisions of 21 U.S.C. § 355(j), seeking approval to engage in the

commercial manufacture, use, offer for sale, sale and/or importation of generic fluvastatin

sodium capsules 20 mg and 40 mg (hereinafter “Mylan’s Fluvastatin Sodium Products”).




                                                 4
 Case 3:08-cv-05042-PGS-TJB Document 1 Filed 10/10/08 Page 5 of 73 PageID: 5




               17.     Mylan submitted its ANDA to the FDA for the purpose of obtaining

approval to engage in the commercial manufacture, use, offer for sale, sale and/or importation of

Mylan’s Fluvastatin Sodium Products before the expiration of the ‘772 patent.

               18.     By filing its ANDA under 21 U.S.C. § 355(j) for the purpose of obtaining

approval to engage in the commercial manufacture, use, offer for sale, sale and/or importation of

Mylan’s Fluvastatin Sodium Products before the expiration of the ‘772 patent, Mylan has

committed an act of infringement under 35 U.S.C. § 271(e)(2). Further, the commercial

manufacture, use, offer for sale, sale and/or importation of Mylan’s Fluvastatin Sodium Products

for which Mylan seeks approval in its ANDA will also infringe one or more claims of the ‘772

patent.

               19.     Mylan’s Fluvastatin Sodium Products, if approved, will be administered to

human patients in an amount effective to inhibit cholesterol biosynthesis and/or to treat

atherosclerosis, which administration constitutes direct infringement of the ‘772 patent. This

will occur at Mylan’s active behest, and with its specific intent, knowledge and encouragement.

On information and belief, Mylan will actively induce, encourage, aid and abet this

administration with the knowledge that it is in contravention of Plaintiff’s rights under the ‘772

patent.

               20.     Mylan made, and included in its ANDA, a certification under 21 U.S.C. §

355(j)(2)(vii)(IV) (“Paragraph IV certification”) that, in its opinion and to the best of its

knowledge, the ‘772 patent is unenforceable. Mylan did not allege non-infringement of the ‘772

patent in its Paragraph IV certification. Mylan did not allege that the ‘772 patent was invalid

under any of 35 U.S.C. § 101 et seq. in its Paragraph IV certification.



                                                   5
 Case 3:08-cv-05042-PGS-TJB Document 1 Filed 10/10/08 Page 6 of 73 PageID: 6




               21.     Plaintiff is entitled to the relief provided by 35 U.S.C. § 271(e)(4),

including an Order of this Court that the effective date of any approval of the aforementioned

ANDA relating to Mylan’s Fluvastatin Sodium Products be a date which is not earlier than the

later of the October 11, 2011 expiration date of the ‘772 patent or any later date of exclusivity to

which Plaintiff is or becomes entitled. Further, Plaintiff is entitled to an award of damages for

any commercial sale or use of Mylan’s Fluvastatin Sodium Products, and any act committed by

Mylan with respect to the subject matter claimed in the ‘772 patent, which act is not within the

limited exclusions of 35 U.S.C. § 271(e)(1).

               22.     On information and belief, when Mylan filed its ANDA, it was aware of

the ‘772 patent, and that the filing of its ANDA with the request for its approval prior to the

expiration of that patent was an act of infringement.

               23.      A notice of Paragraph IV certification (“Notice Letter”) must “include a

detailed statement of the factual and legal basis of the opinion of the [ANDA] applicant that the

patent is invalid or will not be infringed.” 21 U.S.C. § 355(j)(2)(B)(iv)(II).

               24.     On or about August 27, 3008, Mylan sent a Notice Letter to Plaintiff

purporting to comply with the provisions of 21 U.S.C. § 355(j)(2)(B)(iv)(II) and the FDA

regulations relating thereto.

               25.     Mylan has failed to comply with the statutory provisions set forth in

paragraph 23 above. On information and belief, the Notice Letter is devoid of an objective, good

faith basis in either the facts or the law. Mylan’s ANDA and Paragraph IV certification is a

wholly unjustified infringement of the ‘772 patent.




                                                  6
 Case 3:08-cv-05042-PGS-TJB Document 1 Filed 10/10/08 Page 7 of 73 PageID: 7




                26.     Mylan has violated its duty of due care to avoid the known patent right of

the ‘772 patent.

                27.     This is an exceptional case, and Plaintiff is entitled to an award of

reasonable attorneys fees under 35 U.S.C. § 285.

                                      PRAYER FOR RELIEF

                WHEREFORE, Plaintiff respectfully requests the following relief:

                A.      Judgment that Mylan has infringed one or more claims of the ‘772 patent

by filing the aforesaid ANDA relating to Mylan’s Fluvastatin Sodium Products;

                B.      A permanent injunction restraining and enjoining Mylan and its officers,

agents, attorneys and employees, and those acting in privity or concert with it, from engaging in

the commercial manufacture, use, offer to sell, or sale within the United States, or importation

into the United States, of Mylan’s Fluvastatin Sodium Products;

                C.      An Order that the effective date of any approval of the aforementioned

ANDA relating to Mylan’s Fluvastatin Sodium Products be a date which is not earlier than the

later of the expiration of the right of exclusivity under the ‘772 patent, or any later right of

exclusivity to which Plaintiff is or becomes entitled;

                D.      Damages from Mylan for any commercial activity constituting

infringement of the ‘772 patent;

                E.      A finding that this is an exceptional case under 35 U.S.C. § 285, and that

Plaintiff is entitled to the costs and reasonable attorney fees in this action; and

                F.      Such other and further relief as the Court may deem just and proper.




                                                   7
Case 3:08-cv-05042-PGS-TJB Document 1 Filed 10/10/08 Page 8 of 73 PageID: 8




Dated: October 10, 2008             s/ William J. O’Shaughnessy
                                    William J. O’Shaughnessy
                                    Jonathan M.H. Short
                                    Mark H. Anania
                                    McCARTER & ENGLISH, LLP
                                    Four Gateway Center
                                    100 Mulberry Street
                                    Newark, New Jersey 07102
                                    Phone: (973) 622-4444
                                    Facsimile: (973) 624-7070

                                    Of Counsel
                                    Robert L. Baechtold
                                    Nicholas N. Kallas
                                    Diego Scambia
                                    Filko Prugo
                                    FITZPATRICK, CELLA, HARPER &
                                       SCINTO
                                    30 Rockefeller Plaza
                                    New York, NY 10112-3801
                                    Phone: (212) 218-2100
                                    Facsimile: (212) 218-2200

                                    Attorneys for Plaintiff
                                    Novartis Pharmaceuticals Corporation




                                     8
Case 3:08-cv-05042-PGS-TJB Document 1 Filed 10/10/08 Page 9 of 73 PageID: 9




                 EXHIBIT A
Case 3:08-cv-05042-PGS-TJB Document 1 Filed 10/10/08 Page 10 of 73 PageID: 10
Case 3:08-cv-05042-PGS-TJB Document 1 Filed 10/10/08 Page 11 of 73 PageID: 11
Case 3:08-cv-05042-PGS-TJB Document 1 Filed 10/10/08 Page 12 of 73 PageID: 12
Case 3:08-cv-05042-PGS-TJB Document 1 Filed 10/10/08 Page 13 of 73 PageID: 13
Case 3:08-cv-05042-PGS-TJB Document 1 Filed 10/10/08 Page 14 of 73 PageID: 14
Case 3:08-cv-05042-PGS-TJB Document 1 Filed 10/10/08 Page 15 of 73 PageID: 15
Case 3:08-cv-05042-PGS-TJB Document 1 Filed 10/10/08 Page 16 of 73 PageID: 16
Case 3:08-cv-05042-PGS-TJB Document 1 Filed 10/10/08 Page 17 of 73 PageID: 17
Case 3:08-cv-05042-PGS-TJB Document 1 Filed 10/10/08 Page 18 of 73 PageID: 18
Case 3:08-cv-05042-PGS-TJB Document 1 Filed 10/10/08 Page 19 of 73 PageID: 19
Case 3:08-cv-05042-PGS-TJB Document 1 Filed 10/10/08 Page 20 of 73 PageID: 20
Case 3:08-cv-05042-PGS-TJB Document 1 Filed 10/10/08 Page 21 of 73 PageID: 21
Case 3:08-cv-05042-PGS-TJB Document 1 Filed 10/10/08 Page 22 of 73 PageID: 22
Case 3:08-cv-05042-PGS-TJB Document 1 Filed 10/10/08 Page 23 of 73 PageID: 23
Case 3:08-cv-05042-PGS-TJB Document 1 Filed 10/10/08 Page 24 of 73 PageID: 24
Case 3:08-cv-05042-PGS-TJB Document 1 Filed 10/10/08 Page 25 of 73 PageID: 25
Case 3:08-cv-05042-PGS-TJB Document 1 Filed 10/10/08 Page 26 of 73 PageID: 26
Case 3:08-cv-05042-PGS-TJB Document 1 Filed 10/10/08 Page 27 of 73 PageID: 27
Case 3:08-cv-05042-PGS-TJB Document 1 Filed 10/10/08 Page 28 of 73 PageID: 28
Case 3:08-cv-05042-PGS-TJB Document 1 Filed 10/10/08 Page 29 of 73 PageID: 29
Case 3:08-cv-05042-PGS-TJB Document 1 Filed 10/10/08 Page 30 of 73 PageID: 30
Case 3:08-cv-05042-PGS-TJB Document 1 Filed 10/10/08 Page 31 of 73 PageID: 31
Case 3:08-cv-05042-PGS-TJB Document 1 Filed 10/10/08 Page 32 of 73 PageID: 32
Case 3:08-cv-05042-PGS-TJB Document 1 Filed 10/10/08 Page 33 of 73 PageID: 33
Case 3:08-cv-05042-PGS-TJB Document 1 Filed 10/10/08 Page 34 of 73 PageID: 34
Case 3:08-cv-05042-PGS-TJB Document 1 Filed 10/10/08 Page 35 of 73 PageID: 35
Case 3:08-cv-05042-PGS-TJB Document 1 Filed 10/10/08 Page 36 of 73 PageID: 36
Case 3:08-cv-05042-PGS-TJB Document 1 Filed 10/10/08 Page 37 of 73 PageID: 37
Case 3:08-cv-05042-PGS-TJB Document 1 Filed 10/10/08 Page 38 of 73 PageID: 38
Case 3:08-cv-05042-PGS-TJB Document 1 Filed 10/10/08 Page 39 of 73 PageID: 39
Case 3:08-cv-05042-PGS-TJB Document 1 Filed 10/10/08 Page 40 of 73 PageID: 40
Case 3:08-cv-05042-PGS-TJB Document 1 Filed 10/10/08 Page 41 of 73 PageID: 41
Case 3:08-cv-05042-PGS-TJB Document 1 Filed 10/10/08 Page 42 of 73 PageID: 42
Case 3:08-cv-05042-PGS-TJB Document 1 Filed 10/10/08 Page 43 of 73 PageID: 43
Case 3:08-cv-05042-PGS-TJB Document 1 Filed 10/10/08 Page 44 of 73 PageID: 44
Case 3:08-cv-05042-PGS-TJB Document 1 Filed 10/10/08 Page 45 of 73 PageID: 45
Case 3:08-cv-05042-PGS-TJB Document 1 Filed 10/10/08 Page 46 of 73 PageID: 46
Case 3:08-cv-05042-PGS-TJB Document 1 Filed 10/10/08 Page 47 of 73 PageID: 47
Case 3:08-cv-05042-PGS-TJB Document 1 Filed 10/10/08 Page 48 of 73 PageID: 48
Case 3:08-cv-05042-PGS-TJB Document 1 Filed 10/10/08 Page 49 of 73 PageID: 49
Case 3:08-cv-05042-PGS-TJB Document 1 Filed 10/10/08 Page 50 of 73 PageID: 50
Case 3:08-cv-05042-PGS-TJB Document 1 Filed 10/10/08 Page 51 of 73 PageID: 51
Case 3:08-cv-05042-PGS-TJB Document 1 Filed 10/10/08 Page 52 of 73 PageID: 52
Case 3:08-cv-05042-PGS-TJB Document 1 Filed 10/10/08 Page 53 of 73 PageID: 53
Case 3:08-cv-05042-PGS-TJB Document 1 Filed 10/10/08 Page 54 of 73 PageID: 54
Case 3:08-cv-05042-PGS-TJB Document 1 Filed 10/10/08 Page 55 of 73 PageID: 55
Case 3:08-cv-05042-PGS-TJB Document 1 Filed 10/10/08 Page 56 of 73 PageID: 56
Case 3:08-cv-05042-PGS-TJB Document 1 Filed 10/10/08 Page 57 of 73 PageID: 57
Case 3:08-cv-05042-PGS-TJB Document 1 Filed 10/10/08 Page 58 of 73 PageID: 58
Case 3:08-cv-05042-PGS-TJB Document 1 Filed 10/10/08 Page 59 of 73 PageID: 59
Case 3:08-cv-05042-PGS-TJB Document 1 Filed 10/10/08 Page 60 of 73 PageID: 60
Case 3:08-cv-05042-PGS-TJB Document 1 Filed 10/10/08 Page 61 of 73 PageID: 61
Case 3:08-cv-05042-PGS-TJB Document 1 Filed 10/10/08 Page 62 of 73 PageID: 62
Case 3:08-cv-05042-PGS-TJB Document 1 Filed 10/10/08 Page 63 of 73 PageID: 63
Case 3:08-cv-05042-PGS-TJB Document 1 Filed 10/10/08 Page 64 of 73 PageID: 64
Case 3:08-cv-05042-PGS-TJB Document 1 Filed 10/10/08 Page 65 of 73 PageID: 65
Case 3:08-cv-05042-PGS-TJB Document 1 Filed 10/10/08 Page 66 of 73 PageID: 66
Case 3:08-cv-05042-PGS-TJB Document 1 Filed 10/10/08 Page 67 of 73 PageID: 67
Case 3:08-cv-05042-PGS-TJB Document 1 Filed 10/10/08 Page 68 of 73 PageID: 68
Case 3:08-cv-05042-PGS-TJB Document 1 Filed 10/10/08 Page 69 of 73 PageID: 69
Case 3:08-cv-05042-PGS-TJB Document 1 Filed 10/10/08 Page 70 of 73 PageID: 70
Case 3:08-cv-05042-PGS-TJB Document 1 Filed 10/10/08 Page 71 of 73 PageID: 71
Case 3:08-cv-05042-PGS-TJB Document 1 Filed 10/10/08 Page 72 of 73 PageID: 72
Case 3:08-cv-05042-PGS-TJB Document 1 Filed 10/10/08 Page 73 of 73 PageID: 73
